       Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 1 of 28




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PENNSYLVANIA                       :
PROFESSIONAL LIABILITY             : CIVIL ACTION NO. 1:18-CV-1308
JOINT UNDERWRITING                 : (“JUA v. Wolf II”)
ASSOCIATION,                       :
                                   :(The Honorable Christopher C.
     Plaintiff,                    :Conner)
                                   :
           v.                      :
                                   :
TOM WOLF, IN HIS OFFICIAL CAPACITY :
AS GOVERNOR OF THE                 :
COMMONWEALTH OF                    :
PENNSYLVANIA; THE GENERAL          :
ASSEMBLY OF THE COMMONWEALTH :
OF PENNSYLVANIA; JOSEPH B.         :
SCARNATI, IN HIS OFFICIAL CAPACITY :
AS PRESIDENT PRO TEMPORE OF THE :
SENATE; JAY COSTA, IN HIS OFFICIAL :
CAPACITY AS MINORITY LEADER OF :
THE SENATE; MICHAEL TURZAI, IN     :
HIS OFFICIAL CAPACITY AS SPEAKER :
OF THE HOUSE OF REPRESENTATIVES; :
FRANK DERMODY, IN HIS OFFICIAL     :
CAPACITY AS MINORITY LEADER OF :
THE HOUSE OF REPRESENTATIVES;      :
AND JESSICA K. ALTMAN, IN HER      :
OFFICIAL CAPACITY AS INSURANCE     :
COMMISSIONER OF PENNSYLVANIA,      :

       Defendants.
__________________________________________________________________________________________

 THE AMERICAN MEDICAL ASSOCIATION AND PENNSYLVANIA MEDICAL
    SOCIETY AMICUS BRIEF IN SUPPORT OF PLAINTIFF’S AMENDED
        COMPLAINT AND MOTION FOR SUMMARY JUDGMENT
          Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 2 of 28




                                                 TABLE OF CONTENTS


Contents
I. INTRODUCTION ..................................................................................................................... 1


II. CONCISE STATEMENT OF THE AMA AND MEDICAL SOCIETY, THEIR
INTEREST IN THIS CASE AND THE SOURCE OF THEIR AUTHORITY TO FILE .. 2


III.     BACKGROUND .................................................................................................................... 4
   A. Act 41 of 2018 ..................................................................................................................... 4
   B. Contract Between the Association and Insurance Policyholder ................... 5


IV.      ARGUMENTS........................................................................................................................ 7
   A. Act 41 is Unconstitutional Because it is a Taking of JUA Policyholders’
   Vested Rights in JUA Funds without Just Compensation. ........................................ 7
   B. Act 41 is Unconstitutional Because it is a Substantial Impairment of
   Express and/or Implied Contract Terms and does not Serve a Legitimate
   Purpose that is Necessary and Reasonable Under the Circumstances. ............. 9
   C. The Physician Community has Reasonable Grounds for Insecurity with
   Respect to the State’s Ability to Maintain the Integrity of JUA Funds and to
   Honor Existing Policyholder Contracts. ....................................................................... 20


IV.      CONCLUSION .................................................................................................................... 24




                                                                    ii
           Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 3 of 28




                                                TABLE OF AUTHORITIES

Cases

Alliance of American Insurers v. Chu, 571 N.E.2d 672, 679 (N.Y. 1991) ............... 8
Allied Structural Steel Co. v. Spannaus, 438 U.S. 234, 244 (1978)............ 6, 10, 16
Energy Reserves Group, Inc. v. Kansas Power & Light Co., 459 U.S. 400, 411-12
  (1983). ..........................................................................................................................10, 15, 17
Garris v. Hanover Ins. Co., 630 F.2d 1001, 1008 (4th Cir. 1980) ............................ 18
General Motors Corp. v. Romein, 503 U.S. 181, 186 (1992) .................................... 11
Home Bldg. & Loan Assoc’n v. Blaisdell, 290 U.S. 398, 429 (1934) .................. 9, 10
Hosp’l & Health System Ass’n of Pa. v. Commonwealth, 77 A.3d 587, 591 (Pa.
  2013) .................................................................................................................................... 20, 22
Jenkins v. County of Schuylkill, 658 A.2d 380, 383 (Pa. Super. 1995).................... 5
Manigault v. Springs, 199 U.S. 473, 480 (1905) ............................................................ 16
Mercado – Boneta v. Admnistracion del Fondo de Compensacion al Paciente
  through Ins. Comm’r, 125 F.3d 9, 16 (1st Cir. 1997)................................................ 19
Mississippi ex rel. Robertson v. Miller, 276 U.S. 174, 179 (1928) ......................... 11
Nieves v. Hess Oil Virgin Islands Corp., 819 F.2d 1237, 1244 (3d Cir. 1987) .... 9,
  11
Pennsylvania Medical Society v. Dep’t of Public Welfare of the Commonwealth
  of Pa., 614 Pa. 574, 581, 39 A.3d 267, 271-72 (2012) ..................................... 21, 22
Schreiber v. Olan Mills, 627 A.2d 806, 808 (Pa.Super. 1993) .................................... 6
Sturges v. Crowninshield, 4 Wheat. 122, 197 (1819) .................................................... 9
Transport Workers Union, Local 290 by and through Fabio v. SEPTA, 145 F.3d
  619, 622 (3d Cir. 1998) .......................................................................................................... 6
Tuttle v. N.H. Med’l Malpractice Joint Underwriting Assoc’n, 648-649 (N.H.
  2010) ........................................................................................................................ 8, 13, 18, 19
United States Trust Co. of New York v. New Jersey, 431 U.S. at 19-20 n.17) ..... 9,
  17, 19
Von Hoffman v. City of Quincy, 4 Wall. 535, 550, 552 (1866) ................................ 10
Wis. Med’l Soc’y v. Morgan, 787 N.W.2d 22, 42 (Wis. 2010) ...................................... 7
Other Authorities

40 P.S. §1303.1102(a) .............................................................................................................. 21

                                                                        iii
           Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 4 of 28




40 P.S. §1303.1112(a) ....................................................................................................... 21, 22
40 P.S. §1303.711(a) ............................................................................................................ 6, 20
40 P.S. §1303.731(a),(b) ......................................................................................................... 12
72 P.S. §1717.1-K(1) ................................................................................................................. 22
Act 41, Section 901-A(1) ..................................................................................................... 5, 16
Act 41, Section 901-A(2) ............................................................................................................ 5
Act 41, Section 901-A(3) ..................................................................................................... 5, 20
Act 41, Section 911-A(C)(1) ..................................................................................................... 5
Act 41, Section 911-A(C)(2) ........................................................................................... 14, 15
Act 41, Section 912-A(A) ........................................................................................................ 12
Act 41, Section 912-A(B) ........................................................................................................ 12
Act 41, Section 912-A(F) ......................................................................................................... 12
Act 41, Section 912-A(G) ................................................................................................. 12, 15
Act 41, Section 913-A(B) ........................................................................................................... 5
Act 41, Section 921-A(1) ......................................................................................................... 15
Act of October 9, 2009, P.L. 537, No. 50, §7(5) and 72 P.S. §1717-K ................... 22
Article I, §10 of the United States Constitution ................................................................ 9
Article XI-A of Act 41 ............................................................................................. 4, 11, 13, 24
U.S. Const., Amdt. V....................................................................................................................... 7




                                                                     iv
      Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 5 of 28




 THE AMERICAN MEDICAL ASSOCIATION AND PENNSYLVANIA MEDICAL
    SOCIETY AMICUS BRIEF IN SUPPORT OF PLAINTIFF’S AMENDED
        COMPLAINT AND MOTION FOR SUMMARY JUDGMENT

      AND NOW, comes the American Medical Association (“AMA”) and the

Pennsylvania Medical Society (“Medical Society”), collectively amici, by and

through their counsel, Gordon & Rees, and hereby file this Amicus Brief in

support of Plaintiff Pennsylvania Professional Liability Joint Underwriting

Association’s, (“JUA” or “Association”), Amended Complaint and Motion for

Summary Judgment, and sets forth as follows:


      I. INTRODUCTION


      In its Amended Complaint, the Association asserts that Act 41 of 2018,

amending the Pennsylvania Insurance Department Act of 1921, Act of May 17,

1921, P.L. 798, No. 285, to be effective July 22, 2018, (the “Act” or “Act 41”), is

an unconstitutional taking violative of the Fifth Amendment to the United

States Constitution; deprives Plaintiff of Due Process; unconstitutionally

impairs the Association’s contracts with its members; and unconstitutionally

impairs the Association’s contracts with its insureds. Plaintiff’s Amended

Complaint at Counts I-III.


      The AMA and the Medical Society, individually and on behalf of their

members that include Association policyholders and Pennsylvania physicians,
      Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 6 of 28




have a significant interest in the outcome of this litigation, and, with approval

of the Court, file this Amicus Brief in support of Plaintiff’s Amended Complaint

and Motion for Summary Judgment.


      II. CONCISE STATEMENT OF THE AMA AND MEDICAL SOCIETY,
          THEIR INTEREST IN THIS CASE AND THE SOURCE OF THEIR
          AUTHORITY TO FILE

      The AMA is the largest association of physicians, residents and medical

students in the United States.      Additionally, through state and specialty

medical societies and other physician groups seated in its House of Delegates,

substantially all United States physicians, residents and medical students are

represented in the AMA’s policy-making process. The objectives of the AMA

are to promote the science and art of medicine and the betterment of public

health. AMA members practice in every medical specialty area and in every

state, including Pennsylvania.

      Founded in 1848, the Medical Society is presently the largest physician

organization in Pennsylvania, comprised of over 16,000 physicians and

medical students, and governed by physician members, including a Board of

Trustees. Among its services, and a top priority, is advocacy for physicians at

the state government level on matters involving medical professional liability




                                       2
      Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 7 of 28




(“MPL”) insurance and advocacy for physicians and Commonwealth residents,

patients, in advancing public policy and public health measures.

      Hence, the amici have an interest in this case because the statute at

issue, Act 41 of 2018, would result in an overhaul of the Association and a

transfer of its operations, administration, and governance to the

Commonwealth thereby resulting in an unconstitutional taking of Association

funds and vested property rights of insured-policyholders, and impairing the

contractual   relationship    between       the   Association   and   its   current

policyholders, for the reasons set forth by Plaintiff and herein. After two prior

unsuccessful attempts by the Commonwealth, Act 41 is just the first step of

the Defendants’ plan to obtain the JUA’s excess funds, to be used by the

Defendants to meet statutory budget requirements or other uses not

consistent with their intended purpose when collected.

      In the two recent and unsuccessful attempts by the Commonwealth to

obtain JUA funds, the Medical Society was permitted by this Court to submit

Amicus briefs. The Middle District of Pennsylvania has inherent authority to

permit the filing and consideration of this Amicus Brief. See Motion of Amici

for Leave to File Amicus Brief.

      This Brief is filed on behalf of amici, on their own behalves and as

representatives of the Litigation Center of the AMA and the State Medical

                                        3
      Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 8 of 28




Societies. The Litigation Center is a coalition among the AMA and the medical

societies of every state. Its purpose is to represent the viewpoint of organized

medicine in the courts.

      III.   BACKGROUND
      A.     Act 41 of 2018


      Act 41 is the Legislature’s third attempt at an unconstitutional taking of

Association funds. This time the Legislature requires the transfer of all assets

of the Association, not just the alleged $200,000,000 of excess surplus. Act 41,

Section 921-A(1). The Act further gives the Commonwealth operational and

administrative control of the Association by removing the Association’s

current board and replacing the board with political appointees. Act 41,

Section 912-A(A). The Act gives the new board all authority to administer the

plan of operations (to be amended consistent with the Act), to decide all

matters of policy, and to have all authority necessary to operate the

Association. Act 41, Section 912-A(G). The day-to-day operations of the new

board would be managed by an appointed Executive Director, a newly-created

position to be hired by the Insurance Commissioner. Act 41, Section 912-A(F).


      The Legislature unilaterally declared the following policy reasons for

the enactment of Article XI-A of Act 41:


                                       4
      Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 9 of 28




  • A decrease of claim payments and a decline in the need for JUA policies
    was identified when the Insurance Commissioner reviewed the
    Association’s Plan of Operation and rate filings. Act 41, Section 901-
    A(1).

  • A need to modernize the Association for economical and administrative
    efficiencies. Id.

  • Ensuring the future availability of and access to a full spectrum of
    hospital services and highly trained physicians. Act 41, Section 901-
    A(2).

  • In order to provide such availability and access, MPL insurance policies
    must be affordable and reasonably cost. Act 41, Section 901-A(3).

  • Placing the Association within the Department of Insurance (hereafter,
    “Department”) will result in more oversight by the Insurance
    Commissioner of expenditures and will ensure better operational
    efficiencies of the Association. Id.
     In the event of dissolution, the Act permits distribution of all Association

assets as the new board may determine, with approval of the Insurance

Commissioner. Act 41, Section 913-A(B). Finally, Act 41 takes away any right

of an insured’s claim to the funds of the Association. Act 41, Section 911-

A(C)(1).


     B.    Contract Between the Association and Insurance
           Policyholder


     Under Pennsylvania law, a contract is validly formed if there was an

offer, an acceptance of the offer, consideration or mutual meeting of the

minds. Jenkins v. County of Schuylkill, 658 A.2d 380, 383 (Pa. Super. 1995)
                                       5
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 10 of 28




(citing Schreiber v. Olan Mills, 627 A.2d 806, 808 (Pa.Super. 1993)).

“Contracts enable individuals to order their . . . affairs according to their

particular needs and interests. Once arranged, those rights and obligations

are binding under the law, and the parties are entitled to rely on them.” Allied

Structural Steel Co. v. Spannaus, 438 U.S. 234, 245 (1978). The purpose of the

Contract Clause is to protect these legitimate expectations from unreasonable

legislative interference. Transport Workers Union, Local 290 by and through

Fabio v. SEPTA, 145 F.3d 619, 622 (3d Cir. 1998).

      The MCARE Act requires every healthcare professional providing

healthcare services in the Commonwealth to purchase MPL insurance from an

insurer. 40 P.S. §1303.711(a). The MCARE Act further directs that the JUA

will offer MPL insurance required thereunder to healthcare professionals who

cannot conveniently obtain MPL insurance through ordinary methods and at

rates not in excess of those similarly-situated. Id. at §1303.732(a).


      In exchange for the Association’s obligation to defend an insured and

pay compensatory damages on their behalf, the insured pays an annual

premium to the Association. The terms and conditions of their contractual

arrangement are set forth in the insured’s insurance policy which addresses,

among other things, insurance coverage amounts, obligations of the insured


                                        6
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 11 of 28




and of the Association, exclusions to coverage, and notification requirements.

See Plaintiff’s Motion for Summary Judgment, at n. 23, referencing Medical

Professional Liability policy, attached as Ex. 1 to the Declaration of Susan

Sersha.


      IV.     ARGUMENTS

            A. Act 41 is Unconstitutional Because it is a Taking of JUA
               Policyholders’ Vested Rights in JUA Funds without Just
               Compensation.

      Pursuant to the Fifth Amendment to the United States Constitution, no

“private property [shall] be taken for public use, without just compensation.”

U.S. Const., Amdt. V. It was the expectation of the insured-policyholders at the

time of contract creation that the premiums that they paid would be used by

the Association for the purpose of paying claim expenses and indemnity.

Where the purpose of funds being held are for satisfying judgments against

healthcare providers, courts have concluded that the insured-providers

retained a vested entitlement to have the funds used in the manner intended.

See, e.g., Wis. Med’l Soc’y v. Morgan, 787 N.W.2d 22, 42 (Wis. 2010) (stating

that [a]ny improper removal of money from the Fund infringes upon this

right [to the security and integrity of the Fund], and is likely to affect

individual providers”); Tuttle v. N.H. Med’l Malpractice Joint Underwriting


                                       7
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 12 of 28




Assoc’n, 992 A.2d 624, 648-649 (N.H. 2010) (“Because policyholders paid for

and received participating policies, incorporating the regulations in effect at

the time, their beneficial interest in the treatment of any JUA excess surplus

vested upon the issuance of their policies”). Similarly here the insured-

policyholders have a right to the security and integrity of the JUA funds to be

used for their intended purpose.

      The transfer of JUA funds to the Commonwealth diverts those funds

from their intended purpose of providing insurance coverage to the insured-

policyholders. Under the Act, the funds, comprised of policyholder premiums

and interest therefrom, can be used for whatever purpose as is determined by

the government-appointed board. Act 41, Section 912-A(g)(6).         This is a

departure from the intent at the time that these contracts were entered into;

that is, the money paid was to be used to pay for claims and related expenses.

However, if Act 41 is permitted to stand, the board can decide to use the funds

in any way, without limiting it to the original intent under the contract

between the JUA and the insureds. See Alliance of American Insurers v. Chu,

571 N.E.2d 672, 679 (N.Y. 1991).       These vested rights of the insured-

policyholders cannot be extinguished by legislative action. Therefore, Act 41,

as it permits the use of the Association funds for purposes other than

insurance coverage, should be declared unconstitutional.

                                      8
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 13 of 28




         B. Act 41 is Unconstitutional Because it is a Substantial
            Impairment of Express and Implied Contract Terms and does
            not Serve a Legitimate Purpose that is Necessary and
            Reasonable Under the Circumstances.


      The    Defendants’    unilateral       act   of   promulgating   Act   41

unconstitutionally takes over the governance and administration of the

Association’s insurance policies with its insureds and all assets, and by its

very existence creates an impairment of the contract between the Association

and the policyholders. Further, Act 41 impairs express and implied contract

terms of the insurance policy.


      Article I, §10 of the United States Constitution states, in relevant part,

that “[n]o state shall…pass any law…impairing the Obligation of Contracts.”

The obligation of contracts is “’the law which binds the parties to perform

their agreement.’” Home Bldg. & Loan Assoc’n v. Blaisdell, 290 U.S. 398, 429

(1934) (quoting Sturges v. Crowninshield, 4 Wheat. 122, 197 (1819)). The

obligations of a contract also include the contemporaneous state law

addressing interpretation and enforcement of the contract. Nieves v. Hess Oil

Virgin Islands Corp., 819 F.2d 1237, 1244 (3d Cir. 1987)(quoting United States

Trust Co. of New York v. New Jersey, 431 U.S. at 19-20 n.17). “This principle

presumes that contracting parties adopt the terms of their bargain in reliance

on the law in effect at the time the agreement is reached.” Id. The laws that
                                         9
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 14 of 28




exist at the time and place the contract is made and where it is to be

performed become a part of the contract, as if they were expressly referred to

or incorporated into the terms of the contract. Blaisdell, 290 U.S. at 429-30

(quoting Von Hoffman v. City of Quincy, 4 Wall. 535, 550, 552 (1866)).

      The United States Supreme Court has set forth a three-part analysis:

      (1) Does the legislation substantially impair a contractual relationship?

      (2) If so, did the Defendants have a significant and legitimate public

purpose for enacting the legislation?

      (3) If so, is the legislation reasonable under the circumstances?

See Allied Structural Steel Co. v. Spannaus, 438 U.S. 234, 244 (1978); see also

Energy Reserves Group, Inc. v. Kansas Power & Light Co., 459 U.S. 400, 411-12

(1983).

            1. Article XI-A of Act 41 Substantially Impairs the Contractual
            Relationship between the Association and its Insureds.

      The threshold inquiry is whether the change has “operated as a

substantial impairment of a contractual relationship.” Allied Structural Steel

Co., 438 U.S. at 244; see also Energy Reserves Group, Inc., 459 U.S. at 411-

412). The questions to be answered are:

      (1) Is there a contractual relationship?

      (2) Does the change in law impair the contractual relationship?


                                        10
      Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 15 of 28




      (3) If so, is the impairment of the contractual relationship substantial?

General Motors Corp. v. Romein, 503 U.S. 181, 186 (1992).            Legislation

impairs obligations of a contract when it renders them invalid, releases them,

or extinguishes them. Blaisdell, 290 U.S. at 431 (citing Sturges, 4 Wheat. at

197-198). The severity of the impairment will increase the level of scrutiny of

the legislation. Energy Resources Group, Inc., 459 U.S. at 411(citing Allied

Structural Steel, 438 U.S. at 245).

      Even if a statute does not impair the express terms of a contract, it

remains unconstitutional to substantially impair implied contract terms and

implied contracts. Nieves v. Hess Oil Virgin Islands Corp., 819 F.2d 1237, 1244

(3d Cir. 1987) (quoting Mississippi ex rel. Robertson v. Miller, 276 U.S. 174,

179 (1928)).

      Here, the insurance policy between the Association and an insured is a

contract. Article XI-A of Act 41 impairs the contractual relationship between

the Association and its policyholders. First and foremost, pursuant to Article

XI-A, the Association will be subsumed by the Commonwealth.                  The

Commonwealth will completely take over the role, obligations, and rights of

the Association, a private entity, including a take over of JUA insurance

policyholders without the consent of the policyholders.



                                       11
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 16 of 28




      The MCARE Act of 2002 provided that the Association’s members,

private insurers, have the right to govern the Association under a plan of

operations that vests power in a board of directors, subject only to the

Insurance Commissioner’s approval of the plan. 40 P.S. §1303.731(a),(b). The

Department of Insurance would only supervise the Association. Id. The plan

as approved vests the powers and duties of the Association in a member-

controlled board of directors. Id.


      Act 41 changes this structure, the obligations, supervision, and powers

of the Association and its board of directors by, among other things:


      • Dismissing current board membership and replacing it with
        appointments by the Governor, the president pro tempore of the
        senate, minority leader of the senate, speaker of the House of
        Representatives, and the minority leader of the House of
        Representatives. Act 41, Section 912-A(A). It further provides that
        the Governor will appoint the chairman of the board. Act 41, Section
        912-A(B).

      • Creating a new position, an Executive Director, to provide the day-to-
        day operations of the board; the Executive Director is hired by
        Pennsylvania’s Insurance Commissioner. Act 41, Section 912-A(F).

      • Providing the new board with all authority to administer the plan of
        operations (to be amended consistent with the Act), to decide all
        matters of policy, and to have all authority necessary to operate the
        Association. Act 41, Section 912-A(G). In furtherance of the same,
        the new board can adopt bylaws and guidelines, appoint committees,
        enter into contracts for administration of the new plan, develop
        rates, policy forms, and riders, invest, borrow and disburse funds,
        and place a portion of Association funds in a restricted receipt
                                      12
      Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 17 of 28




         account in the Treasury Department. Act 41, Section 912-A(G)(1)-
         (6).

      At the time they entered into the contractual relationship, an insured

would not justifiably expect that the Legislature would eliminate the JUA and

take over its functions as will result if Article XI-A is not enjoined. No

provision of the regulatory scheme at the time prior to passage of Act 41

would have suggested to the private insureds that they should anticipate that

their policies and all governance of them would be transferred to the

Commonwealth.        See similarly Tuttle v. N.H. Med’l Malpractice Joint

Underwriting Assoc’n, 992 A.2d 624, 642 (N.H. 2010). The creation of the

insurance policy agreement was a meeting of the minds between an insured

and the Association as it was formed and governed pursuant to the MCARE

Act. Act 41 at Article XI-A contravenes the Association and its contractual

responsibilities to its policyholders. See Id. at 644.

      It is the position of amici that the complete takeover of the Association

by the Commonwealth is enough to conclude that a substantial impairment of

contract exists.   However, should the Court require specific examples of

contractual impairment, amici present the following specific terms and

conditions of the insurance policy of insureds as examples of impairment

should Article XI-A be permitted as law.


                                        13
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 18 of 28




      From an analysis of the insurance policy:


1.   ACTION AGAINST ASSOCIATION: “Nothing contained in this policy shall
     give any person or organization other than the Insured any right against
     the Association as any third party beneficiary or otherwise.”


      This provision of the insurance policy substantiates an insured’s right to

sue the Association.   In comparison, pursuant to Act 41 at Section 911-

A(C)(2), should Act 41 stand, an insured loses any claim it might have against

the Association, and instead, such claim becomes a liability of the

Commonwealth. One might be inclined to conclude that the insured’s right of

suit remains. However, there is a difference to an insured as to whether they

would be willing to pursue a valid legal claim against a private entity like the

JUA or one against the Commonwealth.


2.   CHANGES: “The terms of this policy shall not be waived or changed,
     except by written endorsement issued to form a part of this policy.”
      This second provision does not permit the insurance policy to be

changed in any way without an appropriate endorsement. Accordingly, by

transferring the insureds’ policies to the Commonwealth without such

endorsement, it impairs the contract by substituting a new obligor. This alone

should be enough to find an impairment of contract.

      Further, the insureds have implied contract rights that vested at the

time they purchased their insurance policies. Act 41 impairs the Association’s

                                      14
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 19 of 28




contracts with its insured-policyholders including at sections 911-A(C), 912-

A(G)(6), and 921-A(1) by:

   • Substituting the Commonwealth as the obligor on all existing contracts

      of insurance issued by the JUA;

   • Empowering the new board to put JUA funds into a restricted receipt

      account to be used for any purpose directed by the board; and

   • Requiring that all JUA files, including confidential information of the

      insured-policyholders be transferred to the Insurance Department.


See in accord Plaintiff’s Amended Complaint at ¶22(a)-(c).


            2. Act 41 does not have a Significant and Legitimate
            Public Purpose.


      If the Court were to conclude that Act 41 substantially impairs the

contract between the Association and its policyholders, the Court next

analyzes whether the state had a significant and legitimate public purpose

behind the change set forth in the legislation such as a broad and general

social or economic problem. Energy Reserves Group, Inc. v. Kansas Power &

Light Co., 459 U.S. 400, 411-12 (1983). This part of the analysis is designed to

assure that the Legislature is using its police power rather than passing

legislation to benefit a special interest. Id. at 412. However, “[i]f the Contract

                                        15
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 20 of 28




Clause is to retain any meaning at all…, it must be understood to impose some

limits upon the power of a State to abridge existing contractual relationships,

even in the exercise of its otherwise legitimate police power.”          Allied

Structural Steel Co. v. Spannaus, 438 U.S. 234, 242 (1978) (quoting Manigault

v. Springs, 199 U.S. 473, 480 (1905)).

      Here, while Defendants may purport that Act 41 addresses a broad,

generalized economic or social problem, it does not do so. The policy reasons

in the Act fall into two categories: (1) affordability and accessibility of MPL

insurance policies and (2) the alleged need for better operational efficiencies

of the Association. Act 41, Section 901-A(1), (2), (3).

      The affordability and accessibility of MPL insurance policies to those

unable to obtain the same in the standard insurance market was a primary

reason for the creation of the Association in the first place. There is no

indication or basis to conclude that the Association is not meeting this goal,

nor is there any such policy statement.

      There is likewise no indication or adequate basis to conclude that the

Association is not operating efficiently.      In fact, the opposite is readily

apparent in the Association’s financial statements and department reviews.




                                         16
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 21 of 28




      The legislation at issue was enacted not for the protection of a basic

interest of society but rather for purpose of gaining access to Association’s

funds.

            3. Act 41 is not Reasonable nor is it of the Character
            Appropriate to the Public Purpose Justifying the Legislation.


      If the legislation is determined to be legitimate, the next inquiry is

whether the legislation in adjusting the rights and responsibilities of the

contracting parties, is based upon reasonable conditions and is of a character

appropriate to the public purpose justifying the legislation. Energy Reserves

Group, Inc., 459 U.S. at 412 (quoting United States Trust Co. v. New Jersey, 431

U.S. 1, 22 (1977)).    Deference is to be given to state laws directed to

addressing broad social and economic problems, unless the state is a

contracting party which then requires a stricter scrutiny. Id. at 412-413

(quoting United States Trust Co., 431 U.S. at 22-23). The Defendants bear the

burden of proving that contract impairment is reasonable and necessary.

Tuttle v. New Hampshire Med’l Malpractice Joint Underwriting Assoc’n, 992

A.2d 624, 643 (N.H. 2010) (citing In re Seltzer, 104 F.3d 234, 236 (9th Cir.

1996)).

      Act 41 is not reasonable.       In evaluating the reasonableness and

necessity of the legislation, courts have examined: “’(1) [the legislation's]

                                       17
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 22 of 28




emergency nature; (2) its purpose to protect a broad societal interest, not a

favored group; (3) the tailoring of its remedial effect to its emergency cause;

(4) the reasonableness of its basic features; and (5) its limited effect in

temporal terms.’” Tuttle, 992 A.2d at 648 (citing and quoting Garris v. Hanover

Ins. Co., 630 F.2d 1001, 1008 (4th Cir. 1980)).

      As noted previously, deference is to be given to the legislation unless the

state is a party to the contract; under the latter circumstance, the legislation

will be subject to stricter scrutiny. The state is contending, and stated in the

legislation, that the Association is an instrumentality of the state. Under that

circumstance, Article XI-A of Act 41 should be subject to the stricter

scrutiny/less deference standard, see Tuttle, 992 A.2d at 645, although it is

the position of amici that even under the more deference standard,

Defendants cannot satisfy this part of the analysis.

      Deference does not mean complete deference. “For the Contract Clause

to retain any vitality, we must be able to consider the reasonableness and

necessity of the legislature's chosen action, particularly where the action's

substantial impairment of contract rights inures to the State's financial

benefit”, as it does here. See Tuttle, 992 A.2d at 646. Of relevance is whether

the state is acting in its own best interest for its own pecuniary or self-

interested capacity.    Mercado – Boneta v. Admnistracion del Fondo de

                                        18
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 23 of 28




Compensacion al Paciente through Ins. Comm’r, 125 F.3d 9, 16 (1st Cir. 1997).

Finding that the state’s self-interest was at stake, the Tuttle court concluded

that complete deference was not appropriate.          Tuttle, 992 A.2d at 646

(quoting Opinion of the Justices (Furlough), 609 A.2d 1204, 1210 (N.H.

1992)). It noted: “’If a State could reduce its financial obligations whenever it

wanted to spend money for what it regarded as an important public purpose,

the Contract Clause would provide no protection at all.’” Id. at 645- 46 (citing

Furlough, 609 A.2d at 1210); see also United States Trust Co. v. New Jersey,

431 U.S. at 26.

      Similarly here, the state is acting in its own self-serving interest. One

need only look to the recent past in its passage of Acts 85 and 44. This case

should not be evaluated in a vacuum. This is not broad-based legislation of a

social or economic nature. In reality, the Act targets the transfer of the

Association’s surplus and assets which were generated by premiums paid by a

discrete class of private persons. See Tuttle, 992 A.2d at 647 (concluding that

a legislative transfer of funds from the Joint Underwriting Association

targeted discrete funds generated by premiums paid by a discrete class of

private parties). It is the Legislature’s third attempt at accessing the money

without regard to the impact on JUA policyholders. Thus, the means chosen



                                       19
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 24 of 28




by the Legislature to accomplish the purpose of the Act is not reasonable and

necessary.

     C.    The Physician Community has Reasonable Grounds for
Insecurity with Respect to the State’s Ability to Maintain the Integrity of
JUA Funds and to Honor Existing Policyholder Contracts.
     As the Court is already aware, the General Assembly enacted the MCARE

Act in 2002 and, simultaneously, created the MCARE Fund—a special fund

administered by the Department. See Hosp’l & Health System Ass’n of Pa. v.

Commonwealth, 77 A.3d 587, 591 (Pa. 2013) (citing 40 P.S. §§1303.712(a),

1303.713(a)). The Fund provides excess MPL insurance coverage—a second

layer of insurance—to health care providers paying claims that exceed their

statutorily-required $500,000 primary or basic coverage amount. Id. Annual

assessments paid by physicians and other healthcare personnel financially

support the Fund and are in addition to the premiums they must pay for their

primary coverage. The assessments were designed to reimburse the fund for

payment of claims and expenses, pay principal and interest on any monies

borrowed by the Fund, and to create a reserve. Id. at 592 (citing 40 P.S.

§1303.712(d)).


      The state’s medical liability crisis intensified early in the 2000s,

increasing the cost of MPL insurance premiums and accordingly the MCARE

assessment for physicians. The pressure resulted in physicians limiting their

                                        20
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 25 of 28




scope of practice, leaving the state, or refusing to practice in Pennsylvania. To

relieve some of the costs of mandated coverage and retain qualified health

care providers in the state, the Legislature implemented several strategies:

First, the 2002 legislation directed motor vehicle surcharge revenues to be

deposited into the MCARE Fund to create an assessment discount program.

Pennsylvania Medical Society v. Dep’t of Public Welfare of the Commonwealth

of Pa., 614 Pa. 574, 581, 39 A.3d 267, 271-72 (2012). Second, in 2003, the

Legislature established the Health Care Provider Retention Program

(“Abatement Program” or “Program”). Id. at 582, 39 A.3d at 272.

The intent of the Abatement Program was to provide assessment abatements,

i.e., rebates, to healthcare providers from 2003-2007. Id. (citing 40 P.S.

§1303.1102(a)). The Legislature established the Health Care Provider

Retention Account (“HCPR Account”), a special account within the General

Fund, to hold the Program funds. Id. (citing 40 P.S. §1303.1112(a)). The

account was funded by two sources: First, the Legislature increased the

cigarette tax and dedicated 25 cents per pack. Second, motor vehicle violation

surcharge revenue was used to partially fund the program. Id. at 582-83, 39

A.3d at 272-73 (citing 40 P.S. §1303.1112(a)). In 2004, the Legislature

charged the Budget Secretary with making the monetary transfers from the



                                       21
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 26 of 28




HCPR Account to the MCARE Fund. Id. at 583-84, 39 A.3d at 273 (citing 40 P.S.

§1303.1112(c)).

      In 2004 and 2005, despite having significant funds in the HCPR Account,

the Budget Secretary only transferred a combined $330 million (of a total

$946 million) to the MCARE Fund. Id. The Budget Secretary made no more

transfers to the MCARE Fund after 2005, although abatements continued to be

granted through 2007, and revenues continued to accumulate in the HCPR

Account. Id.

      Faced with an unbalanced budget in 2009, the Governor approved a bill

and legislation amending the Fiscal Code, including a repeal of the Abatement

Law, abolishment of the HCPR Account, a transfer of all cigarette tax revenue

in the HCPR Account to the General Fund, a transfer of $708 million from the

HCPR Account to the General Fund, and requiring that $100 million be

transferred from the MCARE Fund to the state’s General Fund. Id. at 584-85,

39 A.3d at 274 (citing Act of October 9, 2009, P.L. 537, No. 50, §7(5) and 72

P.S. §1717-K); Hosp’l & Health System Ass’n of Pa. v. Commonwealth, 77 A.3d

587, 593 (Pa. 2013) (citing 72 P.S. §1717.1-K(1)).       The legislation was

challenged, with varying results, but the point here being that the

Commonwealth has a history of attempting to legislate and mandate the

transfer of funds into the General Fund.

                                      22
     Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 27 of 28




      Now, once again, the farmer has tapped the proverbial fox to guard the

henhouse. Through Act 41, the General Assembly has placed the JUA under

the control, direction and oversight of the Pennsylvania Department of

Insurance. The law vests a Board, appointed by the Governor and the leaders

of the General Assembly, with governance of the JUA. It also provides

additional powers and duties of the Board, which includes, subject to the

Commissioner’s approval, the ability to place a portion of the JUA’s funds in a

restricted receipt account in the Treasury. Funds placed in treasury account

would be appropriated for the purposes required in the MCARE Act, the

Article, and as may otherwise be directed by the Board. The Act also provides

for a method of dissolving the Association, and would then permit the new

board to distribute the assets and funds as it would desire.

      The Defendants have already showed their hand, having twice before in

the last two years to legislate the transfer of JUA funds to the Commonwealth.

The Defendants intend to divert the JUA’s alleged “excess” funds to the state’s

funds. Given the history, the amici and physician policyholders are justified in

their belief that the state cannot be trusted with the JUA funds or to carry out

the duty owed to the JUA physician policyholders; for indeed, the past is

prologue.



                                       23
                          Case 1:18-cv-01308-CCC Document 46-1 Filed 08/30/18 Page 28 of 28




                  IV.     CONCLUSION

                          Accordingly, Act 41, Article XI-V is unconstitutional because it would

                  accomplish an unconstitutional taking of funds from the Association and

                  impairs the obligations of contracts in contravention of Article I, § 10 of the

                  United States Constitution. The American Medical Association and the

                  Pennsylvania Medical Society respectfully requests that this Honorable Court

                  issue an Order declaring Act 41, Article XI-V unconstitutional and enjoin the

                  Commonwealth accordingly.


                                                        Respectfully Submitted,

                  Date:                                 GORDON & REES
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